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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


 Civil Action No. 11-cv-02285-NYW

 CENTER FOR LEGAL ADVOCACY, d/b/a DISABILITY LAW COLORADO,
        Plaintiff,
 v.
 REGGIE BICHA, in his official capacity as Executive Director of the Colorado Department of
 Human Services; and
 JILL MARSHALL, in her official capacity as Superintendent of the Colorado Mental Health
 Institute at Pueblo,

        Defendants.

                                        MINUTE ORDER

 Entered by Magistrate Judge Nina Y. Wang

         This matter comes before the court on the issues raised by the Parties and the court during
 the Status Conference held on November 30, 2018. [#115]. The purpose of the Status Conference
 was to set a date for an evidentiary hearing on the enforcement of the Amended Settlement
 Agreement and to discuss discovery to be conducted prior to the evidentiary hearing. Having set
 a five-day evidentiary hearing to commence on March 18, 2019, the court ORDERS as follows:
        (1)     Plaintiff may serve up to fifteen (15) interrogatories, fifteen (15) requests for
                production; and fifteen (15) requests for admissions no later than December 7,
                2018;1


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   At the Status Conference, Defendants sought the opportunity to serve discovery upon Plaintiff.
 This court respectfully declines to permit this discovery under Rule 26(b)(1) of the Federal Rules
 of Civil Procedure. The issues before the court in the forthcoming evidentiary hearing are
 (1) whether Defendants properly invoked Departmental Special Circumstances (“DSC”) in June
 and December 2017 and (2) to what relief is Plaintiff entitled for the breach of the Amended
 Settlement Agreement in June 2018, when Defendants continued to be out of compliance with the
 timeframe required for inpatient restoration services and did not invoke DSC. [#113]. In
 reviewing Defendants’ invocation of DSC dated June 22, 2017 [#96-2] and December 22, 2017
 [#96-2], this court finds no basis to determine that any action by Plaintiff contributed to the
 invocation of DSC or Defendants’ articulated plans to remedy DSC discussed in the June 22, 2017
 letter. Indeed, Defendants make no mention of any legislative action in the June 22, 2017 letter
 [#96-2], and post-December 22, 2017 legislative action appears irrelevant to the resolution of the
 DSC issue because Defendants did not invoke DSC after December 22, 2017.
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      (2)   Any disputes with respect to the scope of written discovery will be raised to the
            court through a Joint Status Report due December 14, 2018, and discussed during
            a Telephonic Status Conference for December 18, 2018 at 11:00 a.m.;

      (3)   Defendants will respond to the written discovery no later than January 9, 2019;

      (4)   Plaintiff may take up to three (3) depositions, to be completed no later than
            February 8, 2019;

      (5)   Any Rule 30(b)(6) Notice for the deposition of the Colorado Department of Health
            and Human Services and/or the Colorado Mental Health Institute must be served
            no later than January 14, 2019;

      (6)   Any disputes with respect to any Rule 30(b)(6) Notice(s) served will be raised by
            the Parties through a Joint Status Report no later than January 16, 2019, and
            discussed with the court during a Telephonic Status Conference set for January
            18, 2019 at 11:00 a.m.; and

      (7)   Defendants will submit to Plaintiff and the court “a plan to remedy the
            Departmental Special Circumstances, and the projected timeframe for resolution”
            as contemplated by Paragraph 6(c) of the Amended and Restated Settlement
            Agreement no later than December 14, 2018, including but not limited to
            addressing the status of the proposed Plans reflected in the June 22, 2017 and
            December 22, 2017 letters as they pertain to inpatient restoration programs.


 DATED: December 3, 2018




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